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The relief described hereinbelow is SO ORDERED.

Signed May 27, 2009.



                                                              __________________________________
                                                                           Ronald B. King
                                                                United States Chief Bankruptcy Judge


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

In re:                                                    )
                                                          )     Case No. 09-50455 (RBK)
SPECTRUM JUNGLE LABS                                      )
CORPORATION, et al.,                                      )     Chapter 11
                                                          )
                                     Debtors.1                  Jointly Administered
                                                          )

          ORDER FURTHER EXTENDING EXCLUSIVE PERIODS FOR FILING
         CHAPTER 11 PLANS AND OBTAINING ACCEPTANCES OF SUCH PLANS

                       Upon the motion (the "Motion")2 of the Debtors for an order, under

    Bankruptcy Code section §1121(d), extending their initial exclusive periods for

    proposing and obtaining acceptances of one or more plans of reorganization; and due and



    1
          In addition to Spectrum Jungle Labs Corporation, the following entities are debtors in these related
          cases: Spectrum Brands, Inc., ROVCAL, Inc., ROV Holding, Inc., Tetra Holding (US), Inc., United
          Industries Corporation, Schultz Company, Spectrum Neptune US Holdco Corporation, United Pet
          Group, Inc., DB Online, LLC, Aquaria, Inc., Perfecto Manufacturing, Inc., Aquarium Systems, Inc.
          and Southern California Foam, Inc.
    2
          All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
          Motion.
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sufficient notice of the Motion having been given under the particular circumstances; and

it appearing that no other or further notice need be provided; and it appearing that the

relief requested by the Motion is in the best interests of the Debtors' estates, their

creditors, and other parties in interest; and after due deliberation thereon; and sufficient

cause appearing therefor, it is hereby

               ORDERED AND ADJUDGED THAT:

               1.   The Motion is GRANTED as provided in this Order.

               2.   The Debtors' Exclusive Proposal Period is extended to and including

August 3, 2009.

               3.   The Debtors' Exclusive Solicitation Period is extended to and

including October 2, 2009.

               4.   Entry of this Order is without prejudice to (a) the Debtors' right to

seek from this Court other or further extensions of the Exclusive Periods, or (b) any party

in interest's right to seek to reduce the Exclusive Periods for cause.

               5.   This Court shall retain jurisdiction with respect to all matters relating

to the interpretation or implementation of this Order.


                                             ###
Submitted by:

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